 Case 6:21-cv-00127-JCB Document 3 Filed 04/01/21 Page 1 of 11 PageID #: 176
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                                                                            Penny Clarkston, Smith County District Clerk
                                                                            Reviewed By: Penny Clarkston

                                                      21-0356-C
                                CAUSE NO. ________________
BETA TELE-PAGE INC.,                              §                   IN THE DISTRICT COURT
      Plaintiff,                                  §
                                                  §
vs.                                               §                  ______ JUDICIAL DISTRICT
                                                  §
STATE AUTOMOBILE MUTUAL                           §
INSURANCE COMPANY,                                §
     Defendant.                                   §                    SMITH COUNTY, TEXAS

                              PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       BETA TELE-PAGE, INC., Plaintiff herein, files this its Original Petition against Defendant,

STATE AUTOMOBILE MUTUAL INSURANCE COMPANY (“State Auto”), and, in support of its

causes of action, would respectfully show the Court the following:

                                           I.         PARTIES

1.     Plaintiff, BETA TELE-PAGE INC (“Plaintiff”)., owns the property made the basis of this suit

located at 1515 & 1517 W. Southwest Loop 323, Tyler, Texas 75701 in Smith County, Texas (the

“Property”).

2.     Defendant, STATE AUTOMOBILE MUTUAL INSURANCE COMPANY (“SAMIC” or

“Defendant”) is a foreign entity authorized to engage in the insurance business in the State of

Texas and was engaged in the insurance business in this State during all relevant times to this

lawsuit. Defendant may be served by serving its registered agent for service of process,

Corporation Service Company, 211 East 7th Street, Suite 620, Austin, Texas 78701. Service is

requested by private process server at this time.

                                         II.      DISCOVERY

3.     Plaintiff intends to conduct discovery under a Level 3 discovery control plan pursuant to

the Texas Rules of Civil Procedure.

                                  III.          CLAIM FOR RELIEF
 Case 6:21-cv-00127-JCB Document 3 Filed 04/01/21 Page 2 of 11 PageID #: 177



4.       At this time, Plaintiff cannot assess accurately a definite limit to the damages it has

sustained, or will sustain in the future, as a result of Defendant’s acts. Given the early state of this

litigation, projections have not been declared regarding the full extent and severity of the injuries

and damages. In view of these circumstances, Plaintiff does not wish to impose any limit on what

it may present to the jury or what the jury may consider as a range of damages in this case;

however, Plaintiff makes the following representation in compliance with Tex. R. Civ. P. 47(c) to

aid in the efficient court administration. Plaintiff believes that the most reasonable option afforded

under Tex. R. Civ. P. 47, at this time, prior to the completion of discovery in the case, is to seek

monetary relief of over $250,000 but not more than $1,000,000, exclusive of interest and costs.

Plaintiff reserves the right to modify or adjust this statement, as the litigation progresses, and

additional evidence is compiled. Regardless of what Plaintiff must state for administrative

purposes as the amount of damages it seeks pursuant to Tex. R. Civ. P. 47(c), they desire to

leave the final determination of damages, if any, to the sole province of the jury, based upon the

credible evidence presented to the jury at trial.

                                IV.    JURISDICTION AND VENUE

5.       This court has subject matter jurisdiction of this cause of action, because it involves an

amount in controversy in excess of the minimum jurisdictional limits of this Court.

6.       Venue is proper in Smith County under Tex. Civ. Prac. & Rem. Code §15.002(a)(1)

because all or a substantial part of the events or omissions giving rise to the claim occurred in

said County. In particular, the loss at issue occurred in this County.

                                 V.     FACTUAL BACKGROUND

7.       Plaintiff entered into an agreement with Defendant to pay Defendant premiums in

exchange for insurance coverage protecting Plaintiff’s Property.

8.       The agreement was drafted by Defendant and assigned Policy Number BOP-2880601

(the “Policy”). The Policy’s effective date was from May 10, 2017 to May 10, 2018 (referred to as

the “Policy Period”).


Plaintiff’s Original Petition                                                                    Page 2
 Case 6:21-cv-00127-JCB Document 3 Filed 04/01/21 Page 3 of 11 PageID #: 178



9.       The Policy covers damage to property as a result of hail, wind, and rain.

10.      During the Policy Period, a wind, hail and rain storm hit Smith County, Texas damaging

Plaintiff’s Property.

11.      Defendant assigned the claim, claim number PR-0000000-239248 (referred to as the

“Claim”).

12.      Plaintiff hired Insurance Adjusters Group, LLC. (“IAG”) to conduct an inspection of the

Property. The inspection resulted in findings of serious and substantial hail and wind damage,

totaling more than $155,629 in actual covered damages. This report was sent to Defendant, and

in her March 5, 2020 correspondence to State Auto, Rachel Smith of IAG “attached [the] estimate

of damages for Beta Telepage.” Ms. Smith also communicated to State Auto that “[IAG has]

requested several time[s] for a re-inspection of the property.” State Auto subsequently refused to

inspect the Property. Defendant failed and refused to perform a proper inspection or re-inspection

of the Property and as a result improperly denied the Claim.

13.      Defendant and its adjusters assigned to the Claim have failed to furnish Plaintiff with

requested copies of Defendants estimate for damages and Defendant’s expert’s report. As such,

Plaintiff is unable to ascertain whether Defendant included all of the damages sustained by the

Property before improperly denying Plaintiff’s claim. and undervalued the damages observed

during the inspection.

14.      Defendant and its adjusters’ unreasonable investigation led to the denial of Plaintiff’s

claim.

15.      Moreover, Defendant and its adjusters performed an outcome-oriented investigation of

Plaintiff’s claim, which resulted in a biased, unfair and inequitable evaluation of Plaintiff’s losses

on the property, initially claiming there was no hail damage, at all. Defendant recently agreed to

inspect the property but has failed to issue an updated determination of coverage.

                                   VI.    CAUSES OF ACTION

A.       Breach of Contract


Plaintiff’s Original Petition                                                                  Page 3
 Case 6:21-cv-00127-JCB Document 3 Filed 04/01/21 Page 4 of 11 PageID #: 179



16.      Plaintiff reasserts and realleges the allegations set forth in paragraphs 7 through 15 of this

petition.

17.      Defendant entered into the Policy with Plaintiff.

18.      Plaintiff’s Property sustained damage during the Policy Period as a result of rain, wind,

and hail which is a covered cause of loss under the Policy.

19.      Defendant breached the terms of the Policy by wrongfully denying the Claim.

20.      As a result of Defendant’s breach of the Policy, Plaintiff has sustained actual damages

and has incurred reasonable and necessary attorney’s fees to date.

B.       Insurance Code Violations

21.      Plaintiff reasserts and realleges the allegations set forth in paragraphs 7 through 20 of this

Petition.

         Prompt Payment of Claims Statute

22.      As set forth above, Plaintiff was insured under the Policy during the Policy Period.

23.      During the Policy Period, a wind and hail storm swept through Tyler, Texas and damaged

Plaintiff’s Property.

24.      As a result, Plaintiff gave proper notice of a claim under the Policy to Defendant.

25.      Defendant is under an obligation to promptly pay Plaintiff’s claim.

26.      Defendant delayed payment of Plaintiff’s claim for a time exceeding the period specified

by statute by wrongfully denying damages clearly covered from the Policy.

27.      To date, Defendant has not tendered payment for all of Plaintiff’s damages arising out of

its insurance claim with Defendant.

28.      The failure of Defendant to pay for the losses and/or to follow the statutory time guidelines

for accepting or denying coverage constitutes a violation of Article 542.058 of the Texas Insurance

Code.




Plaintiff’s Original Petition                                                                   Page 4
 Case 6:21-cv-00127-JCB Document 3 Filed 04/01/21 Page 5 of 11 PageID #: 180



29.      As a result of the insurance code violations listed above, Plaintiff, in addition to Plaintiff’s

claim for damages is entitled to statutory interest and attorneys’ fees as set forth in Article 542.060

of the Texas Insurance Code.

         541 Insurance Code Violations

30.      Defendant is required to comply with Chapter 541 of the Texas Insurance Code.

31.      Plaintiff is considered a “person” under the Texas Insurance Code § 541.002. Likewise,

Defendant is engaged in the business of insurance and is thus a “person” under § 541.002.

32.      Defendant violated § 541.051 of the Texas Insurance Code by making statements

misrepresenting the terms and/or benefits or advantages of the policy and by using a name or

title of a policy or class of policies that misrepresents the true nature of the policy or class of

policies.

33.      Defendant violated § 541.060:

         (a)      541.060(a)(1)-misrepresenting to Plaintiff a material fact or policy provision

                  relating to coverage at issue.

34.      Plaintiff reasserts and realleges the allegations set forth in paragraphs 7 through 33 of this

Petition.

35.      Defendant misrepresented the following:

         i.       There was no damage to Plaintiff’s roofing system sustained during a storm which

                  occurred during the Policy Period.

         ii.      There was no covered loss as a result of the aforementioned storm which occurred

                  during the Policy Period;

         iii.     Interior damage was not due to a covered cause of loss; and

         iv.      Plaintiff did not have the privilege to demand appraisal.

36.      Each of these acts and omissions, singularly or in conjunction with the others, constituted

a violation of Texas Insurance Code § 541.060(a)(1), which proximately caused Plaintiff’s

damages.


Plaintiff’s Original Petition                                                                      Page 5
 Case 6:21-cv-00127-JCB Document 3 Filed 04/01/21 Page 6 of 11 PageID #: 181



         (b)      § 541.060(a)(2)-failing to attempt in good faith to effectuate a prompt, fair, and

                  equitable settlement of a claim with respect to which the insurer’s liability had

                  become reasonably clear.

37.      Plaintiff reasserts and realleges the allegations set forth in paragraphs 7 through 36 of this

Petition.

38.      Defendant failed to attempt in good faith to effectuate a prompt, fair and equitable

settlement by:

         i.       failing to properly investigate the interior damage;

         ii.      misrepresenting to Plaintiff that the interior damage was not due to rain water

                  entering the Property from a wind or hail created opening;

         iii.     ignoring and/or attempting to discredit findings that show hail impact damage;

         iv.      failing to acknowledge that hail impact damage affected the and hinders the overall

                  functionality of the roofing system;

         v.       failing to appraise the damages found in the IAG report in an effort to solely deny

                  Plaintiff’s claim, despite clear evidence to the contrary; and

         vi.      failing to write an estimate that includes all storm-created openings and damages

                  found to be sustained by the roofing system.

39. Each of these acts and omissions, singularly or in conjunction with others, constituted a

violation of Texas Insurance Code § 541.060(a)(2), which proximately caused Plaintiff’s damages.

         (c)      541.060(a)(3)-failing to promptly provide Plaintiff a reasonable explanation of the

                  basis in the policy, in relation to the facts or applicable law, for the insurer’s denial

                  of a claim or offer of a compromise settlement of a claim.

40.      Plaintiff reasserts and realleges the allegations set forth in paragraphs 7 through 39 of this

Petition.

41.      Defendant failed to promptly provide Plaintiff a reasonable explanation of the basis for

Defendant’s denial of the claim. Defendant’s denial was based solely on its outcome-oriented


Plaintiff’s Original Petition                                                                       Page 6
 Case 6:21-cv-00127-JCB Document 3 Filed 04/01/21 Page 7 of 11 PageID #: 182



report. Defendant failed to explain how the roof can show hail impact damage but the damages

to the roof not be covered. It also failed to explain why the interior water damage was not covered.

Defendant’s decision was merely a regurgitation of Policy language.

42.      Each of these acts and omissions, singularly or in conjunction with others, constituted a

violation of Texas Insurance Code § 541.060(a)(3), which proximately caused Plaintiff’s damages.

         (d)      541.060(a)(4) by failing within a reasonable time to affirm or deny coverage of a

                  claim to Plaintiff or submit a reservation of rights to Plaintiff.

43.      Plaintiff reasserts and realleges the allegations set forth in paragraphs 7 through 42 of this

Petition.

44.      Defendant failed within a reasonable time to affirm or deny coverage or submit a

reservation of rights by taking months to render a decision letter. The initial inspection was

conducted or about February 2019 and an additional inspection was finally conducted after

repeated requests on January 22, 2021, yet Defendant has failed to re-issue a coverage decision.

45.      Each of these acts and omissions, singularly or in conjunction with others, constituted a

violation of Texas Insurance Code § 541.060(a)(4), which proximately caused Plaintiff’s damages.

         (g)       541.060(a)(7) by refusing to pay Plaintiff’s Claim without conducting a reasonable

                  investigation with respect to the Claim.

46.      Plaintiff reasserts and realleges the allegations set forth in paragraphs 7 through 45 of this

Petition.

47.      Defendant refused to pay Plaintiff’s claim without conducting a reasonable investigation

by:

         i.       failing to properly investigate the interior damage;

         ii.      misrepresenting to Plaintiff that the interior damage was not due to rain water

                  entering the Property from a wind or hail created opening;

         iii.     ignoring and/or attempting to discredit laboratory findings that show hail impact

                  damage;


Plaintiff’s Original Petition                                                                   Page 7
 Case 6:21-cv-00127-JCB Document 3 Filed 04/01/21 Page 8 of 11 PageID #: 183



         iv.      failing to acknowledge its admissions at the property that hail impact damage

                  penetrated the roofing system; and

         v.       preventing Plaintiff from being a part of the testing;

48.      Each of these acts and omissions, singularly or in conjunction with others, constituted a

violation of Texas Insurance Code § 541.060(a)(7), which proximately caused Plaintiff’s damages.

49.      Defendant violated § 541.061:

         i.       making an untrue statement of material fact;

         ii.      failing to state a material fact necessary to make other statements made not

                  misleading considering the circumstances under which the statements were made;

         iii.     making a statement in a manner that would mislead a reasonably prudent person

                  to a false conclusion of a material fact;

         iv.      making a material misstatement of law; and

         v.       failing to disclose a matter required by law to be disclosed.

C.       DTPA Violations

50.      Plaintiff reasserts and realleges the allegations set forth in paragraphs 7 through 49 of this

Petition.

51.      At all material times hereto, Plaintiff was a consumer who purchased insurance products

and services from Defendant.

52.      Defendant is a “person” as defined by § 17.45 of the Texas Business and Commerce

Code.

53.      Defendant violated the Texas Deceptive Trade Practices Act by accepting insurance

premiums but refusing without a reasonable basis to pay benefits due and owing, engaged in an

unconscionable action or course of action as prohibited by the DTPA § 17.50(a)(1)(3) in that this

Defendant took advantage of Plaintiff’s lack of knowledge, ability, experience, and capacity to a

grossly unfair degree, that also resulted in a gross disparity between the consideration paid in the

transaction and the value received, in violation of Chapter 541 of the Insurance Code.


Plaintiff’s Original Petition                                                                   Page 8
 Case 6:21-cv-00127-JCB Document 3 Filed 04/01/21 Page 9 of 11 PageID #: 184



54.      As a result, Plaintiff is entitled to exemplary and/or treble damages pursuant to the DTPA

and Texas Insurance Code § 541.152(a)-(b) and reasonable and necessary attorney’s fees as

allowed by § 17.50 of the Business and Commerce Code.

D.       Breach of The Duty of Good Faith and Fair Dealing

55.      Plaintiff reasserts and realleges the allegations set forth in paragraphs 7 through 54 of this

Petition.

56.      Plaintiff and Defendant entered into a valid and enforceable insurance policy.

57.      Defendant owed Plaintiff the common law duty of good faith and fair dealing.

58.      Defendant breached the common law duty of good faith and fair dealing by:

         i.       failing to properly investigate the interior damage;

         ii.      misrepresenting to Plaintiff that the interior damage was not due to rain water

                  entering the Property from a wind or hail created opening;

         iii.     ignoring and/or attempting to discredit findings that show hail impact damage;

         iv.      failing to acknowledge that hail impact damage affected the and hinders the overall

                  functionality of the roofing system;

         v.        failing to write an estimate that includes all storm-created openings and damages

                  found to be sustained by the roofing system; and

         vi.      Defendant denied payment on the Claim when Defendant knew or should have

                  known liability was reasonably clear. There was no reasonable basis for Defendant

                  to deny the Claim.

59.      Upon information and belief, Defendant’s actions were performed without due regard or

care for the Claim process and were done intentionally and/or with gross negligence.

60.      Defendant was aware at all times that its actions would result in the denial and/or

underpayment of Plaintiff’s Claim, cause mental anguish and thus extraordinary harm associated

with Plaintiff’s Claim.




Plaintiff’s Original Petition                                                                   Page 9
Case 6:21-cv-00127-JCB Document 3 Filed 04/01/21 Page 10 of 11 PageID #: 185



61.      As a result of Defendant’s aforementioned acts and/or omissions, Plaintiff sustained actual

damages.

                                       VII.     ATTORNEYS’ FEES

62.      Plaintiff reasserts and realleges the allegations set forth in paragraphs 7 through 61 of this

petition.

63.      Plaintiff engaged the undersigned attorneys to prosecute this lawsuit against Defendant

and agreed to pay reasonable attorneys’ fees and expenses through trial and any appeal.

64.      Plaintiff is entitled to reasonable and necessary attorney’s fees pursuant to TEX. CIV.

PRAC. & REM. CODE §§ 38.001-38.003 because Plaintiff is represented by an attorney,

presented the claim to Defendant, and Defendant did not tender the just amount owed before the

expiration of the 30th day after the claim was presented.

65.      Plaintiff further prays that it be awarded all reasonable attorneys’ fees incurred in

prosecuting its causes of action through trial and any appeal pursuant to §§ 541.152 and 542.060

of the Texas Insurance Code.

66.      Plaintiff further prays that it be awarded all reasonable and necessary attorney’s fees

incurred in prosecuting Plaintiff’s DTPA causes of action above pursuant to § 17.50(d).

                                VIII.         CONDITIONS PRECEDENT

67.      All conditions precedent to Plaintiff’s right to recover have been fully performed or have

been waived by Defendant.

                                       IX.      DEMAND FOR JURY

68.      Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Plaintiff herein requests a jury

trial and along with the filing of the Original Petition has tendered to the Clerk of the Court the

statutory jury fee.

                                  X.          DISCOVERY REQUESTS

69.      Pursuant to Rule 194, you are required to disclose, within thirty (30) days after filing an

Answer herein, the information or material described in Rule 194.2(b)1-12.


Plaintiff’s Original Petition                                                                  Page 10
Case 6:21-cv-00127-JCB Document 3 Filed 04/01/21 Page 11 of 11 PageID #: 186



                                           XI.     PRAYER

         WHEREFORE, PREMISES CONSIDERED, Plaintiff herein prays that, upon final hearing

of the case, it recover actual damages, treble/exemplary damages from and against Defendant

that may reasonably be established by a preponderance of the evidence, and that Plaintiff be

awarded attorneys’ fees through trial and appeal, costs of court, pre-judgment interest, post-

judgment interest, and such other and further relief, general or special, at law or in equity, to which

Plaintiff may show itself to be justly entitled.

                                                       Respectfully submitted,


                                                       /s/ Preston J. Dugas, III
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                                                       ATTORNEYS FOR PLAINTIFF




Plaintiff’s Original Petition                                                                   Page 11
